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To whom it may concern, | Cristal Starling am writing to the courts of The Western District Of
New York to file an answer to the United States District Court’s motion to strike my claim to
currency in the amount of $8,040.

It is the state’s argument that | failed to claim said currency in a timely manner. It is my
argument that

| have done everything that was asked of me to make a claim to my currency since the day it
was confiscated.

These actions include filing a petition to the Department of Justice on December 17, 2020.
Petition# -209S-11A-2AA-2E9 and a claim on January 15, 2021.

Claim number# -210F-83F-633-B62.

These actions were taken in response to correspondence received to do so in a timely manner.

in addition to these filings, | contacted and followed the advice of the district attorney presiding
over the case that resulted in these monies being confiscated several times. | was told that
there would be no release of funds until the case was closed.

The defendant in said case was acquitted of all charges on November 17, 2021 and as a result |
am following up to get my currency returned to me.

Please feel free to contact me to discuss this matter further by phone or email.

585-709-2236
dodati381@qmail.com

   
 

  

Thank you, JAN 04 2022

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Cristal Starling waste . eusute SoS
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Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

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Plaintiff(s), CERTIFICATE OF SERVICE
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Defendant(s).

 

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pon all other parties in this case

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on (date service was made) Be \onu ri Hw 2082

I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge, information and belief.

Executed on us \ BS ( { >

(date) (vour signature)
